            Case 4:20-cv-07908-HSG Document 44 Filed 10/01/21 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA                                             ^ ^021
DAVID ANGEL SIFUENTES III,                        CASE NO.4:20-cv-07908
             Plaintiff,
                                                  HON. HAYWOOD S. GILLIAM, JR.
V.                                                U.S. DISTRICT JUDGE


DROPBOX,INC.,
                       Defendant.
                                         !

      PLAINTIFFS DECLARATION IN SUPPORT OF OPPOSITION TO
                                 COMPEL ARBITRATION


I, David Angei Sifuentes III, pursuant to 28 U.S.C. § 1746, hereby certify to the best of my
knowledge,information, and belief that:

     1. The facts, law and documents in the opposition to compel arbitration is not being
        presented for an improper purpose and is presented in the best of my ability and
        knowledge.

     2. I never opened up, clicked on, or visited any hyperlink, read any of the updated terms and
        conditions concerning the March 2014 arbitration clause that was added and never agreed
        to arbitrate in any way.

     3. Is supported by existing law or by a nonffivolous argument for extending, modifying, or
        reversing existing law.

   4. The factual contentions have evidentiary support or, if specifically, so identified, will
      likely have evidentiary support after a reasonable opportunity for further investigation or
      discovery.

     5. I declare under penalty of perjury, that the foregoing is true and correct.

Executed on this 27^ day of September 2021.


                                                  David Angel Sifuentes III
